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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF NEW YORK

DR. ALAN SACERDOTE, et al.,

                           Plaintiffs,
v.                                             No. 16-cv-6284 (AT)

NEW YORK UNIVERSITY,

                           Defendants.

                        AMENDED NOTICE OF APPEAL

     Notice is given that Plaintiffs, Dr. Alan Sacerdote, Dr. Herbert Samuels, Mark

Crispin Miller, Marie E. Monaco, Dr. Shulamith Lala Straussner, and James B.

Brown, hereby appeal to the United States Court of Appeals for the Second Circuit

from the following judgment and orders:

       (1)    Judgment [Doc. 349], entered July 31, 2018;

       (2)    All interlocutory orders and rulings that gave rise to the Judgment,

including but not limited to rulings before or during the bench trial;

       (3)    Opinion & Order [Doc. 348], entered July 31, 2018, setting forth the

district court’s finding of fact and conclusions of law and directing entry of judgment

for Defendant;

       (4)    Opinion & Order [Doc. 79], entered August 25, 2017, granting in part

Defendant’s Motion to Dismiss [Doc. 44];

       (5)    Order [Doc. 100], entered October 17, 2017, denying Plaintiffs’ Motion

for Leave to File Second Amended Complaint [Doc. 83];

       (6)    Opinion & Order [Doc. 101], entered on October 19, 2017, denying
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Plaintiffs’ Motion for Partial Reconsideration [Doc. 81] of the Court’s August 25,

2017 Opinion & Order;

       (7)     Order [Doc. 122], entered December 19, 2017, granting Defendant’s

Motion to Strike Plaintiffs’ Jury Demand [Doc. 117]; and

       (8)     Order [Doc. 398], entered July 1, 2019: (a) denying Plaintiffs’ Motion

under Federal Rules of Civil Procedure 52(b) and 59(e) for Amended or Additional

Findings and to Alter or Amend Judgment to Include Equitable Relief [Doc. 350],

(b) denying Plaintiffs’ Motion to Vacate Judgment and For New Trial [Doc. 357],

and (c) granting Defendant’s motions to strike certain expert declarations [Docs.

373, 386].

    This Amended Notice of Appeal is filed within the time limit established by

Federal Rule of Appellate Procedure 4(a). See Fed. R. App. P. 4(a)(1)(A);

4(a)(4)(A)(ii), (iv); 4(a)(4)(B)(ii); Doc. 398.


July 18, 2019                                     Respectfully submitted,

                                                  /s/ Jerome J. Schlichter
                                                  SCHLICHTER, BOGARD & DENTON, LLP
                                                  Andrew D. Schlichter, Bar No. 4403267
                                                  Jerome J. Schlichter (pro hac vice)
                                                  Heather Lea (pro hac vice)
                                                  Joel D. Rohlf (pro hac vice)
                                                  100 South Fourth Street, Suite 1200
                                                  St. Louis, MO 63102
                                                  Phone: (314) 621-6115
                                                  Fax: (314) 621-5934

                                                  Counsel for Plaintiffs




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